2:24-cv-06310-JD-MGB   Date Filed 11/04/24   Entry Number 1   Page 1 of 8




                                                2:24-CV-6310-JD-MGB
2:24-cv-06310-JD-MGB   Date Filed 11/04/24   Entry Number 1   Page 2 of 8
2:24-cv-06310-JD-MGB   Date Filed 11/04/24   Entry Number 1   Page 3 of 8
2:24-cv-06310-JD-MGB   Date Filed 11/04/24   Entry Number 1   Page 4 of 8
2:24-cv-06310-JD-MGB   Date Filed 11/04/24   Entry Number 1   Page 5 of 8
2:24-cv-06310-JD-MGB   Date Filed 11/04/24   Entry Number 1   Page 6 of 8
2:24-cv-06310-JD-MGB   Date Filed 11/04/24   Entry Number 1   Page 7 of 8
2:24-cv-06310-JD-MGB   Date Filed 11/04/24   Entry Number 1   Page 8 of 8
